                                                   Case 3:15-cv-00675-JBA Document 888-1 Filed 05/29/18 Page 1 of 4
                                                                                                  Asset Schedule
                                                                                                                                       SEC EST'D AMOUNT
SEC                                                                                                            RELIEF DEF'S EST'D                       RD's
                               ASSET                                  OWNER (at least on paper)                                         AVAILABLE FOR A                               NOTES
NO.                                                                                                             CURRENT VALUE                           NO.
                                                                                                                                           JUDGMENT
                                                                                          ASSETS TITLED TO DEFENDANT
BANK AND BROKERAGE ACCOUNTS
  1       E*Trade: x6818                                   Iftikar Ahmed                                                $940,767.20          $941,007.51 54
  2       HSBC: x2984                                      Iftikar Ahmed                                                     $10.00                 $0.00 55
  3       Northern Trust: x5218                            Rakitfi Holdings LLC                                        $1,699,476.20        $5,359,620.19 56 See note 1
  4       Northern Trust: x3911                            Rakitfi Holdings LLC                                               $9.00                 $0.00 57
  5       Northern Trust: x0901                            Rakitfi Holdings LLC                                                                     $0.29
  6       Northern Trust: x5226                            Essell Farms LLC (Iftikar Ahmed 50% owner)                    $77,399.50           $76,649.52 58
  7       Northern Trust: x5234                            Essell Group LLC (Iftikar Ahmed 60% owner)                  $1,884,248.29        $1,562,715.94 59
  8       Northern Trust: x3781                            Iftikar Ahmed                                                 $79,581.00           $79,773.49 60
  9       Northern Trust: x7193                            Oak FBO Iftikar Ahmed                                        $843,910.00          $838,136.00 61 may incur taxes, fees or other costs if liquidated
 10       TD Bank: x5279                                   Iftikar Ahmed                                                 $19,253.86                 $0.00 62
 11       TD Bank: x8551                                   Iftikar Ahmed                                                   $8,193.19                $0.00 63
 12       Fidelity: x8133                                  Essell Farms LLC (Iftikar Ahmed 50% owner)                                               $0.31
 13       Fidelity: x7417                                  Essell Farms LLC (Iftikar Ahmed 50% owner)                                               $2.36
 14       Fidelity: x9637                                  Giotech Software Limited Company                                                      $830.49
 15       Circle Internet Finance Bitcoin Wallet           Iftikar Ahmed                                                $254,477.21          $200,664.00 64 27 bitcoins
          SUBTOTAL                                                                                                     $5,807,325.45        $9,059,400.10
NET REPORTED K‐1 DISTRIBUTIONS FROM OAK ENTITIES
 16       Oak Management Corp. 2015 distribution           Iftikar Ahmed                                               $1,999,837.00                $0.00 65
 17       Oak Management Corp. 2016 distribution           Iftikar Ahmed                                                $177,079.00                 $0.00 66
          SUBTOTAL                                                                                                     $2,176,916.00               $0.00
REAL PROPERTY

 18       Essell Farm (1820 County Route 7, Ancram, NY) Essell Farms LLC (Iftikar Ahmed 50% owner)                     $1,500,000.00        $1,500,000.00 67
          SUBTOTAL                                                                                                     $1,500,000.00        $1,500,000.00
PRIVATE COMPANY INVESTMENTS
 19       Ribbit Capital                                   Essell Group LLC (Iftikar Ahmed 60% owner)                  $3,958,229.80        $1,656,000.00   68   See Ex. 41
 20       Ribbit Capital II                                Essell Group LLC (Iftikar Ahmed 60% owner)                   $428,760.43           $360,000.00   69   See Ex. 41
 21       Clues Network Inc.                               Essell Group LLC (Iftikar Ahmed 60% owner)                  $6,442,121.05        $1,419,599.01   70   See Ex. 42
 22       Oak HC/FT Associates Capital Account             Iftikar Ahmed                                                $177,709.00                 $0.00   71   See Ex. 43
 23       Crypto Currency Partners LP                      Iftikar Ahmed                                                                            $0.00
 24       iMENA                                            Iftikar Ahmed                                                                       $75,000.00
          SUBTOTAL                                                                                                    $11,006,820.28        $3,510,599.01
LIFE INSURANCE POLICIES
         MetLife Whole Life Insurance Policy (Iftikar
 25                                                        Iftikar Ahmed                                               $1,283,865.09        $1,249,243.35 33
         Ahmed)
         Genworth Life and Annuity Insurance Policy
  26                                                       Iftikar Ahmed                                                                        unknown
         (Iftikar Ahmed)
         American General Life Insurance Policy (Iftikar
  27                                                       Iftikar Ahmed                                                                        unknown
         Ahmed)
         SUBTOTAL                                                                                                      $1,283,865.09        $1,249,243.35
INTERESTS IN ASSETS HELD AT OAK
 28       Oak Management Corp.                             Iftikar Ahmed                                               $4,000,000.00            $1,200.00 72
 29       Oak Associates X, LLC                            Iftikar Ahmed                                               $1,361,466.13                $0.00 73
                                                                                                        Page 1 of 4
                                             Case 3:15-cv-00675-JBA Document 888-1 Filed 05/29/18 Page 2 of 4
                                                                                              Asset Schedule
                                                                                                                                SEC EST'D AMOUNT
SEC                                                                                                     RELIEF DEF'S EST'D                            RD's
                             ASSET                                OWNER (at least on paper)                                      AVAILABLE FOR A                                   NOTES
NO.                                                                                                      CURRENT VALUE                                NO.
                                                                                                                                    JUDGMENT
 30   Oak Associates XI, LLC                           Iftikar Ahmed                                             $243,092.72                  $0.00   74
 31   Oak Associates XI‐A, LLC                         Iftikar Ahmed                                             $203,741.66                  $0.00   75
 32   Oak Associates XII, LLC                          Iftikar Ahmed                                           $24,097,293.59                 $0.00   76
 33   Oak Associates XII‐A, LLC                        Iftikar Ahmed                                            $2,332,370.46                 $0.00   77
 34   Oak Associates XIII, LLC                         Iftikar Ahmed                                            $1,666,203.65                 $0.00   78
 35   Oak Associates XIII‐A, LLC                       Iftikar Ahmed                                            $1,607,835.42                 $0.00   79
 36   Frozen Distributions                             Iftikar Ahmed                                                                    $683,172.00
      SUBTOTAL                                                                                                 $35,512,003.63           $684,372.00
AUTOMOBILES & HOUSEHOLD FURNISHINGS
 37      Porsche Cayenne                               Iftikar Ahmed                                                                    $24,000.00           [Doc. 149 ¶ 23]
 38      Cadillac Escalade                             Iftikar Ahmed                                                                    $32,000.00           [Doc. 149 ¶ 23]
 39      Household Furnishings of 505 North Street     Iftikar Ahmed                                                                     unknown             appraisal has not been performed
         SUBTOTAL                                                                                                      $0.00            $56,000.00


DEFENDANT SUBTOTAL                                                                                             $57,286,930.45       $16,059,614.46



                                                                 ASSETS TITLED JOINTLY TO DEFENDANT AND SHALINI AHMED (ON PAPER)
BANK AND BROKERAGE ACCOUNTS
 40     Bank of America: x9566                         Iftikar and Shalini Ahmed                                    $4,184.48            $4,184.54    16
 41     Bank of America: x0482                         Iftikar and Shalini Ahmed                                 $236,043.68           $221,042.68    17
 42     Bank of America: x3754                         Iftikar and Shalini Ahmed                                   $80,509.71          $171,700.59    18
 43     Chase Bank: x9065                              Iftikar and Shalini Ahmed                                   $20,604.14           $20,609.23    19
 44     Chase Bank: x9001                              Iftikar and Shalini Ahmed                                   $14,366.21           $14,369.75    20
 45     Northern Trust Brokerage: x5188                Iftikar and Shalini Ahmed                                 $451,560.00           $451,570.06    21
 46     Northern Trust Brokerage: x3934                Iftikar and Shalini Ahmed                               $11,804,147.46       $11,897,817.13    22
 47     Northern Trust Brokerage: x3935                Iftikar and Shalini Ahmed                                   $12,045.10           $12,173.13    23
 48     Northern Trust Brokerage: x0895                Iftikar and Shalini Ahmed                                $2,499,230.19        $2,520,653.06    24
 49     Northern Trust Brokerage: x8537                Iftikar and Shalini Ahmed                                                             $0.00
        SUBTOTAL                                                                                               $15,122,690.97       $15,314,120.17
REAL PROPERTY
         Greenwich Home (505 North Street, Greenwich,
 50                                                   Iftikar and Shalini Ahmed                                 $9,625,000.00                $0.00 38 forfeited due to bail violation
         CT)
         SUBTOTAL                                                                                               $9,625,000.00                $0.00
ITEMS HELD IN STORAGE PURSUANT TO COURT ORDER
 51    Painting ‐ M.F. Husain, "Ashoka's Pillar"    Iftikar and Shalini Ahmed                                    $425,000.00              unknown 43 appraisal has not been performed
       SUBTOTAL                                                                                                  $425,000.00                 $0.00
CONTENTS OF SAFETY DEPOSIT BOXES 1325, 1332, and 2465
 52      Harry Winston Diamond Ring                    Iftikar and Shalini Ahmed                                 $116,000.00              unknown 46 appraisal has not been performed
         Various gold or silver coins given to minor
 53                                                    Iftikar and Shalini Ahmed                                     $250.00              unknown 47 appraisal has not been performed
         children
         Jewelry received as wedding presents (42
 54                                                    Iftikar and Shalini Ahmed                                  $25,000.00              unknown 48 appraisal has not been performed
         pieces)
 55      Jewelry acquired during marriage (8 pieces)   Iftikar and Shalini Ahmed                                  $90,000.00              unknown 49 appraisal has not been performed
 56      Jewelry acquired during marriage (2 pieces)   Iftikar and Shalini Ahmed                                  $10,000.00              unknown 50 appraisal has not been performed

                                                                                                 Page 2 of 4
                                                  Case 3:15-cv-00675-JBA Document 888-1 Filed 05/29/18 Page 3 of 4
                                                                                                      Asset Schedule
                                                                                                                                             SEC EST'D AMOUNT
SEC                                                                                                                  RELIEF DEF'S EST'D                       RD's
                                 ASSET                                    OWNER (at least on paper)                                           AVAILABLE FOR A                               NOTES
NO.                                                                                                                   CURRENT VALUE                           NO.
                                                                                                                                                 JUDGMENT
          Various gold or silver coins given to minor
 57                                                            Iftikar and Shalini Ahmed                                       $44,878.35             unknown 51 appraisal has not been performed
          children (specific weights)
 58       Gold pieces received as wedding presents             Iftikar and Shalini Ahmed                                       $29,599.80             unknown 52 appraisal has not been performed
          1 kilogram gold bars acquired during marriage
 59                                                            Iftikar and Shalini Ahmed                                      $387,774.90          $377,109.00 53
          (9 pieces)
 60       Remaining contents in safety deposit boxes           Iftikar and Shalini Ahmed                                                             unknown          appraisal has not been performed
          SUBTOTAL                                                                                                            $703,503.05          $377,109.00


JOINTLY HELD ASSETS SUBTOTAL                                                                                                $25,876,194.02       $15,691,229.17



                                                                                     ASSETS TITLED TO RELIEF DEFENDANTS (ON PAPER)
DIYA Capital Management LLC
 61      Bank of America: x4199                                DIYA Capital Management LLC                                       $5,126.16            $3,042.44   1
         SUBTOTAL                                                                                                                $5,126.16            $3,042.44
DIYA Holdings LLC
 62       Bank of America: x3831                               DIYA Holdings LLC                                                $43,416.37           $43,816.37 29
 63       Apartment (530 Park, 12A, New York, NY)              DIYA Holdings LLC                                             $9,469,725.00        $9,469,725.00 40
 64       Bank of America: x6009                               Robert Andes, Beneficiary DIYA Holdings LLC,                                          $32,444.33
          SUBTOTAL                                                                                                           $9,513,141.37        $9,545,985.70
DIYA Real Holdings LLC
 65      Bank of America: x7632                                DIYA Real Holdings LLC                                           $36,902.57           $36,902.57 28
 66      Apartment (530 Park, 12F, New York, NY)               DIYA Real Holdings LLC                                        $8,756,950.00        $8,756,950.00 39
         SUBTOTAL                                                                                                            $8,793,852.57        $8,793,852.57
I‐Cubed Domains LLC
 67         Bank of America: x8384                             I‐Cubed Domains LLC                                              $2,840.00            $2,840.00 2
 68         Blade Networks Investment                          I‐Cubed Domains LLC                                             $50,000.00           $13,000.00 34 See Ex. 44
            Aldrich Capital Investment (liquidated April       I‐Cubed Domains LLC
  69                                                                                                                         $3,000,000.00        $3,078,631.27 35
            2018)
  70        Reserve Media Investment                           I‐Cubed Domains LLC                                              $50,000.00                $0.00 36 per conversation with Reserve Media's attorney
            SUBTOTAL                                                                                                         $3,102,840.00        $3,094,471.27
Iftikar A. Ahmed Family Trust
 71       TD Ameritrade: x7686                                 Iftikar A. Ahmed Family Trust                                 $6,572,084.44        $6,624,802.73 11
           Iftikar A. Ahmed Family Trust interest in Rakitfi
  72                                                           Iftikar A. Ahmed Family Trust                                 $3,660,143.99                $0.00 37 See SEC No. 3 and note 1
           Holdings LLC
           SUBTOTAL                                                                                                         $10,232,228.43        $6,624,802.73
Iftikar Foundation
           Bank Check to the Iftikar Foundation (charitable
 73                                                         Shalini Ahmed, as Trustee                                          $14,560.00            $14,560.00 32
           contribution)
           SUBTOTAL                                                                                                            $14,560.00           $14,560.00
Shalini A. Ahmed 2014 Grantor Retained Trust
 74        Fidelity: x8965                                     Shalini A. Ahmed 2014 Grantor Retained                        $9,224,359.40        $9,302,064.88   4
           SUBTOTAL                                                                                                          $9,224,359.40        $9,302,064.88
Shalini A. Ahmed
 75       Fidelity: x7540                                      Shalini Ahmed                                                $13,261,263.88       $13,328,689.59   3

                                                                                                              Page 3 of 4
                                                    Case 3:15-cv-00675-JBA Document 888-1 Filed 05/29/18 Page 4 of 4
                                                                                                         Asset Schedule
                                                                                                                                             SEC EST'D AMOUNT
SEC                                                                                                                   RELIEF DEF'S EST'D                           RD's
                                   ASSET                                    OWNER (at least on paper)                                         AVAILABLE FOR A                                   NOTES
NO.                                                                                                                    CURRENT VALUE                               NO.
                                                                                                                                                 JUDGMENT
 76           Fidelity: x5070                                   Shalini A. Ahmed Roth IRA                                        $5,938.63             $5,500.00    5
 77           Fidelity: x5760                                   Shalini A. Ahmed Rollover IRA                                      $385.95                 $0.00    6
 78           Pershing/BNY Brokerage: x0166                     Shalini Ahmed                                                  $883,769.77           $884,005.27   10
 79           TD Bank Checking: x2774                           Shalini Ahmed                                                      $156.51               $154.51   15
 80           Cash (Held by HSC LLP)                            Shalini Ahmed                                                   $55,223.93            $55,223.93   30
 81           Cash (Held by Murtha Cullina LLP)                 Shalini Ahmed                                                   $25,000.00            $25,000.00   31
 82           Paintings (2)                                     Shalini Ahmed                                                   $40,000.00              unknown    41     appraisal has not been performed
 83           Sculpture of hand                                 Shalini Ahmed                                                   $20,000.00              unknown    42     appraisal has not been performed
 84           Harry Winston Earrings                            Shalini Ahmed                                                  $200,000.00              unknown    44     appraisal has not been performed
 85           13 women's designer handbags                      Shalini Ahmed                                                   $20,000.00              unknown    45     appraisal has not been performed
              SUBTOTAL                                                                                                      $14,511,738.67        $14,298,573.30
UTMAs
 86           Fidelity: x1895                                   Shalini Ahmed as Custodian for UTMA                             $94,978.91           $94,990.96     7
 87           Fidelity: x8036                                   Shalini Ahmed as Custodian for UTMA                             $95,314.93           $95,385.45     8
 88           Fidelity: x9441                                   Shalini Ahmed as Custodian for UTMA                             $84,931.26           $84,931.26     9
 89           TD Ameritrade: x7666                              Daniel G. Johnson as Custodian, Child I.I. 2                 $1,071,396.79        $1,081,418.83    12
 90           TD Ameritrade: x7674                              Daniel G. Johnson as Custodian, Child I.I. 1                 $1,191,202.01        $1,204,966.82    13
 91           TD Ameritrade: x7700                              Daniel G. Johnson as Custodian, Child I.I. 3                   $327,948.35          $331,624.05    14
 92           Bank of America Trust: x4104                      Iftikar Ahmed as Custodian for UTMA for Child I.I.               $5,002.79            $5,002.81    25
 93           Bank of America Trust: x0070                      Iftikar Ahmed as Custodian for UTMA for Child I.I.               $5,002.79            $5,002.83    26
 94           Bank of America Trust: x5699                      Iftikar Ahmed as Custodian for UTMA for Child I.I.               $5,004.02            $5,004.04    27
              SUBTOTAL                                                                                                       $2,880,781.85        $2,908,327.05


RELIEF DEFENDANTS SUBTOTAL                                                                                                  $58,278,628.45       $54,585,679.94


GRAND TOTAL                                                                                                            $141,441,752.92          $86,336,523.57


      1   The current balance of NT x5218 is $5,359,620.19 . Relief Defendants list a substantial portion of this account balance as belonging to the Iftikar A. Ahmed Family Trust, referencing an alleged interest in Rakitfi
          held by the Family Trust. Any alleged interest is irrelevant because Defendant controlled both Rakitfi and the Family Trust, and Defendant opened and controlled NT x5218.




                                                                                                              Page 4 of 4
